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                                                    8                        UNITED STATES DISTRICT COURT
                                                    9                       CENTRAL DISTRICT OF CALIFORNIA
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                                                   11   SECURITIES AND EXCHANGE                         Case No. 2:21-cv-02927-CAS(GJSx)
KATTEN MUCHIN ROSENMAN LLP




                                                        COMMISSION,
                                                   12                                                   ORDER REQUIRING CITY
                                                                     Plaintiff,                         NATIONAL BANK TO TRANSFER
                             525 W. MONROE ST.
                              CHICAGO, IL 60661




                                                   13                                                   FUNDS FROM AND
                               (312) 902‐5200




                                                              v.                                        SUBSEQUENTLY CLOSE ROGUE
                                                   14                                                   BLACK LLC ACCOUNTS
                                                        ZACHARY J. HORWITZ; and 1inMM
                                                   15   CAPITAL, LLC,
                                                   16                Defendants.
                                                   17

                                                   18         Upon consideration of the Stipulation Requiring City National Bank to
                                                   19   Transfer Funds from and Subsequently Close Rogue Black LLC Accounts, dated
                                                   20   September 28, 2022 (the “Stipulation”), between plaintiff Securities and Exchange
                                                   21   Commission and Michele Vives, not individually, but solely as the receiver (the
                                                   22   “Receiver”) of 1inMM Capital, LLC and its subsidiaries, affiliates and over the
                                                   23   assets more particularly described in the Order on Appointment of Permanent
                                                   24   Receiver, dated January 14, 2022 [ECF #70] (the “Receiver Order”); the Court,
                                                   25   finding that there being good cause to grant the relief provided herein; it is, pursuant
                                                   26   to the Court’s power to supervise equity receiverships and all other powers in that
                                                   27   behalf so enabling, hereby ORDERED:
                                                   28   ///

                                                                                                                       Case No. 2:21-cv-02927-CAS(GJSx)
                                                                                       [PROPOSED] ORDER REQUIRING CITY NATIONAL BANK TO TRANSFER
                                                                                    FUNDS FROM AND SUBSEQUENTLY CLOSE ROGUE BLACK LLC ACCOUNTS
                                                  Case 2:21-cv-02927-CAS-PD      Document 131       Filed 09/29/22      Page 2 of 3 Page ID
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                                                    1             1.   The Stipulation is APPROVED.
                                                    2             2.   City National Bank (“CNB”), including its officers, agents, servants,
                                                    3   employees and attorneys, is hereby AUTHORIZED and DIRECTED to—
                                                    4                  (a)   Transfer $15,625.00, the principal balance of a Paycheck
                                                    5   Protection Program loan (the “PPP Loan”) at CNB in the name of Rogue Black LLC
                                                    6   (“Rogue Black”), from the account at CNB in the name of Rogue Black with account
                                                    7   no. xxxxx1710 (the “Account”) to the PPP Loan (such action, the “Payoff of PPP
                                                    8   Loan Principal”);
                                                    9                  (b)   Wire the remaining balance in the Account after the Payoff of
                                                   10   PPP Loan Principal to the Receiver’s receivership bank account pursuant to
                                                   11   instructions to be provided by the Receiver to CNB;
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                                                   12                  (c)   Close the Account and take all necessary actions to do so; and
                                                                       (d)   Close out the PPP Loan and take all necessary actions to do so.
                             525 W. MONROE ST.




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                              CHICAGO, IL 60661
                               (312) 902‐5200




                                                   14             3.   The Court hereby DECLARES, pursuant to 28 U.S.C. §§ 754 and
                                                   15   959(b), applicable federal securities laws and the Court’s inherent powers, that the
                                                   16   Receiver is, and has succeeded to be, the sole and exclusive managing member and
                                                   17   legal representative of Rogue Black LLC, with the sole and exclusive power and
                                                   18   authority to manage and direct its business and financial affairs, and that Rogue
                                                   19   Black LLC is deemed to be an “affiliate” of 1inMM Capital, LLC for all purposes
                                                   20   under the Receiver Order and applicable law.
                                                   21             4.   The Order (1) Freezing Assets; (2) Requiring an Accounting;
                                                   22   (3) Prohibiting Destruction of Documents; and (4) to Set Hearing on Order to Show
                                                   23   Cause, dated April 6, 2021 [ECF #18], and the Order Freezing Assets and
                                                   24   Prohibiting Destruction of Documents, dated May 14, 2021 [ECF #43], are hereby
                                                   25   MODIFIED so as to authorize the relief stated in paragraph 2.
                                                   26             5.   Except as provided herein, the Freeze Orders remain in full force and
                                                   27   effect.
                                                   28   ///
                                                                                                                       Case No. 2:21-cv-02927-CAS(GJSx)
                                                                                       [PROPOSED] ORDER REQUIRING CITY NATIONAL BANK TO TRANSFER
                                                                                    FUNDS FROM AND SUBSEQUENTLY CLOSE ROGUE BLACK LLC ACCOUNTS
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                                                  Case 2:21-cv-02927-CAS-PD      Document 131       Filed 09/29/22      Page 3 of 3 Page ID
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                                                    1         6.     The Court retains exclusive jurisdiction to hear and determine any
                                                    2   disputes arising out of or relating to this order.
                                                    3    Dated: September 29, 2022                   ________________________________
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                                                                                                     United States District Judge

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                             525 W. MONROE ST.




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                              CHICAGO, IL 60661
                               (312) 902‐5200




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                                                                                                                       Case No. 2:21-cv-02927-CAS(GJSx)
                                                                                       [PROPOSED] ORDER REQUIRING CITY NATIONAL BANK TO TRANSFER
                                                                                    FUNDS FROM AND SUBSEQUENTLY CLOSE ROGUE BLACK LLC ACCOUNTS
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